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                  硼■it2b      St,t2メ Court of∫ 2b2r,I CIttmメ
                                          No.19‑0043C
                                      Filed:Fcbruary 15,2019


DIANNE MICHELE CARTER,
                         Plainti鶴
                                                          P′ ο肋 ;Sν αシ      θDismissal;Lack of
                                                                          ο″′
V.                                                        SuttCCt Mattcr ofJurisdiction;RCFC
                                                          12(h)(3)
THE UNITED STATES,

                         Dcfcndant.


                                      OPIN10N AND ORDER
syIEu、 senior Judge

                       °
          On January 2,2019,plaintitt Diallne   Ⅳlichclc    Carter,procccding′   rο sθ ,flled   a


:Ⅷ絆]織:脚翻 鴇 鵬 計驀 灘辮 獅 Ⅷ 獄
District ofNorth Carolina and the Court of Appc


                                                                 辮謝塞聾塾瞥                              ,




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                                                      s S10 11nillion in rnonetary damagcs arising out
                                                      d false arrest and imprisonment. Additionally,
plaintiffilcd a Motion for Lcavc to Procccd加 力         ′ α α θ″jS On January 2,2019.
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I罵鍵盟請歌ittl肥 蹴 瀑躙                                  1ldmsc       RCFC)

     I.       BaCkground
                                                                               icc(̀̀IRS'')fraudulcntly
          ln hcr Complaint,plaintir allcgCS thtt thc lntcmal Rcvenuc ScⅣ

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United Statcs Court of Appcals for the Fourth Circuit also wrongfully,negligently,and
maliciously rulcd against hcr. Iグ .at 7‑8.


         Plaintiffpoints to a plcthora of allcgcd constitutional violations and wrongs comllnitted
against her throughout thc procccdings in both thc District and Circuit Courts resulting in falsc
                                                        ″
imprisorlment and physical and cmotional ha1111,Sセ θgFれ θα′
                                                          レ COmpl.As a rcsult ofthosc
allcgcd、 vTongs,Ms.Caier asks this Courtto dcclarc               alljudgcments almotatcd abovc as void ab
initio,''and imprison defendants for the allcged̀̀crillnes cornlnittcd against her,'' Sθ θCompl.at
13‑14.FurthellllorC,NIIso Cartcr secks S10 million in actual,compcnsatory,and punitive
damagcs stellnrning frolln abuse ofproccss;brcach ofassumcd duty;breach of flduciary duty;
conspiracy;constructive fraud;intentional infliction of emotional distress;negligenccl and
dcprivation ofrights. I″ .at 4‑13. Plaintiffbascs hcr clairns upon allegcd violations of
Amcndmcnts I,IV,V,VI and XIV;18U.S.C.§ 241 and§ 242;42U.S.C.§ 1983 and§ 1986;
                                                                             νθηS
Americans with Disabilities Act(ADA);ADA Amcndments Act of2008(ADAAA);and B′
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                                                        ′cs,403 UoS.388(1971)。 〃.at
13‑14.

    II.     Standard of Review
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eithcr upon thc COnstitution,or any Act of Congress or any regulation of an exccutiVe

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雨聯掛
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Tuckcr Act,        a plaintiff must identify a scparatc
                                      ′
                                  ν.し物′θグSrarθ s,402F.3d l167,1172(Fcd.Cir.2005)(θ ′わαηC in
                                                                                                                 t。


 mOncy damagcs."Fisttθ        r

 relcvant part).




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                                           讐地
          ̀̀Courts havc an independent obligation to detcllllinC Whcthcr subieCt―
                                                                                          matter」 llrisdiction




                                   [鮮I灘瀞
          In deterlnining whCther su●      eCt― matter   Jurisdiction exists,the Court Will trcat factual
                                                           struc thcm in the light most favorable to the
                                                           739F.3d689,692(Fcd.Cir.2014). Further,
                                                           e lenicnt standards than plcadings drafted by



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the burden of establishing by a preponderance of the evidence that this Court has jurisdiction
over its claims. See Kokkonen v. Guardian Life Ins. Co. of Am., 51 1 U.S. 375,377 (1994).

    III.    Discussion

        In this case, Ms. Carter fails to establish by a preponderance of the evidence that this
Court has jurisdiction over her claims. The Tucker Act does not provide this Court with
jurisdiction to entertain collateral attacks on decisions offederal district or circuit courts. 28
U.S.C. g 149i(a); see, e.g.,shinnecocklndianNationv. UnitedStates,782F.3d1345,1352
 (Fed. Cir. 2015) ("Binding precedent establishes that the Court of Federal Claims has no
jurisdiction to review the merits of a decision rendered by a federal district court."). Therefore,
Ms. Carter's request to review the other Courts' decisions falls outside of this Court's
jurisdiction, and her Complaint must be dismissed.

        Regarding the demand to imprison defendants for alleged crimes, this Court lacks
jurisdiction o'u"r plui.rtiffls demand that it imprison the alleged offenders, as such relief is not
related to money damages. See United States v. Sherwood,3l2 U.S. 584, 588 (1941) (stating
that the jurisdiction of United States Court of Federal Claims is "confined to the rendition of
 money judgements").
        -Birirt,the       This Court also lacks jurisdiction to entertain plaintiff s Bivens claim'
 Undei               Supreme Court held that, in certain situations, a plaintiff may bring claims
 against government officials in their individual capacities for violations of constitutional rights.
 Sie Brownv. United States,105 F.3d 621,624 (Fed. Cir. 1997) (citing Bivens,403 U.S. 388)'
 However, the Tucker Act does not provide this Court with jurisdiction over claims against
 individual federal officials. /d ("[I]ts jurisdiction is confined to the rendition of money
judgments in suits brought for thai relief against the United States, . . . and if the relief sought is
 ugui"rt others than the United States the suit as to them must be ignored as beyond the
jurisdiction of the court.")'

        Additionally, Ms. Carter's First, Fourth, Fifth, Sixth and Fourteenth Amendment claims
are not properly beiore this Court. With the exception of the Takings Clause
                                                                                   of the Fifth
                                                                             amendments     are not
Amendment, a provision which is not pertinent to this Complaint,      these
                                                                                               States v.
money-mandating and therefore not subject to the jurisdiction of this Court. See United
connolly,T16Fidgg2, gg7 (Fed. cir. 1983) ("[T]he fF]irst [A]mendment, standing alone,
cannot be so interpreted to command the payment of money.") (citations omitted);
                                                                                         Brown,105
                                                                                       therefore such
F.3d at 623 (holding that the Fourth Amendment does not mandate payment and
claims are not within the jurisdiction of the court) (citations omitted);  Carruth  v.  United States,
62j F.2d 1068, 1081 (Ct. Cl. 1980) (finding no jurisdiction based on Fifth Amendment Due
process or Equal Protection) ; Milas v. Uniied States, 42 Fed. Cl' 704,710 (1999) (holding that
                                                                                  Amendment is not
the Court lacks jurisdiction over Sixth Amendment claims because the Sixth
money-mandating) (citations omitted), aff'd,217 F.3d 854 (Fed. cir. 1999); Kortlander
                                                                                                v. United
                                                                      jurisdiction  over  Fourteenth
sturc;,107 Fed. cl. 3sz, 369 (2012) (holding that the Court lacks
Amendment claims because the Fourteenth Amendment is not money-mandating).

        The Court also lacks jurisdiction over plaintiff s statutory claims against the United
 States. Ms. Carter alleges vi,olations of 42 U'S.C' $$ 1983, 1986 and 18 U'S'C' $$ 241,242'but
 only federal district .orrlnr have jurisdiction to hear claims alleging such violations.
                                                                                          See

 Schweitzer v. rJnited States,82 Fed. Cl. 592,595 (2008) ("[T]his Court does not
                                                                                      have

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jurisdiction over the plaintiffs' civil rights claims brought under 42 U.S.C. $$ 1981, 1985, or
 1986 (2000), because it is well-settled that jurisdiction over such claims lies exclusively in the
                                                                                  *2 (Fed. Cl' Feb. 4,
 district courts."); Jones v. [Jnited States,No. 15-1044C,20i6 WL 447144, at
 2016) ("[W]e do not have jurisdiction over plaintiff s alleged violation of civil rights
 acts . . . because those statutes do not provide for the payment of money.").

         Furthermore, the Court lacks jurisdiction to hear plaintiff s tort claims. The Tucker Act
explicitly excludes tort claims against the United States from this Court's jurisdiction. "It is well
r.ttl"d that the United States Court of Federal Claims lacks-and its predecessor the United
States Claims Court lacked-jurisdiction to entertain tort claims ." Shearin v. United States,992
F.2d 1195, 1197 (Fed. Cir. 1993); see also Sellers v. (Jnited States,l10 Fed. Cl. 62,66 (2013)'

       Here, Ms. Carter alleges that the defendants are responsible for her "[p]hysical and
emotional injuries" as a result of a violation of ADA and ADAAA, and suffering from
defendants' abuse ofprocess, breach ofassumed duty, breach offiduciary duty, conspiracy,
                                                                                        generally
constructive fraud, intentional infliction of emotional distress and negligence' See
Compl. These claims sound in tort and, thus, are outside of this Court's     jurisdiction. See, e.g.,
                                                                                  (Fed. Cir' 1998)
McCauley v. United States,38 Fed. Cl. 250, 266 (1997), of'd,152 F.3d 948
(holding ihut th. Court of Federal Claims lacked jurisdiction over an ADA       claim  because district
                                                                (Inited States,l05 Fed. Cl'213,218
courts have exclusive jurisdiction over such claims); Coxv.
                                                                                               LLC v'
(2012) (finding fraud, and breach of fiduciary duty sounded in tort); Kenney Orthopedic,
                                                              jurisdiction on "emotional   distress"
United States,g3 Fed. Cl. 35, 46 (holding the court has no
                                                               (stating that conspiracy, fraud, and
claims); Gant v. (lnited Statei:s,63 Fed. Ct. :t 7,376 (2004)
negligence sounded in tort).

                                                                             pauperis along with
         As noted above, Ms. Carter filed an application to proceed informa
                                                                    federal courts are permitted to
 her Complaint on January 2,20Ig. Pursuantio 28 U.S.C. $ 1915,
                                                                              The statute requires
 waive filing fees under certain circumstances. See 28 U.S.C. $ 1915(a)(1).      o"unable to pay
                                                                          To be
 that an uppli"unt be "unable to pay such fees." 28 U.S.C. $ 1915(aX1).
                                                            serious hardship on the plaintiff'"
 such fees, means that paying ,u"h f.., would constitute a
                                                                         v. United States' 93 Fed'
 Fiebelkornv. (lnited ititurln Fed. Cl. 59,62 (2007); see also Moore
                                                                     for Leave to Proceed informa
 Cl. 41 I,414-15 (2010). For good cause shown, plaintiff s Motion
 pauperis is granted.

     IV.     Conclusion
                                                                                 DISMISSED
         For the reasons set forth above, plaintiff s complaint rs, stta sponte,
                                                                           to
 pursuant to RCFC L2(hX3) for lack ofjurisdiction. Plaintiff s Motion
                                                                              Proceed in forma
 'pauperisis                                                               judgment consistent with
             hereby CniNffO. The itert is hereby directed to enter
 this opinion.

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